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 5 Harry Kent Baker, Scott William Miller, and
     James Douglas Wilson
 6
                                 UNITED STATES DISTRICT COURT
 7
                               CENTRAL DISTRICT OF CALIFORNIA
 8
                                              WESTERN DIVISION
 9
     CARPENTERS SOUTHWEST                            No. 2:16-cv-08040-MWF-SK
10 ADMINISTRATIVE
     CORPORATION, a California non-                  DEFENDANTS HARRY KENT
11 profit corporation; and BOARD OF                  BAKER, SCOTT WILLIAM
     TRUSTEES FOR THE                                MILLER, AND JAMES DOUGLAS
12 CARPENTERS SOUTHWEST
     TRUSTS,                                         WILSON’S JOINDER IN MOTION
13                                                   TO DISMISS OR, IN THE
                                     Plaintiffs,     ALTERNATIVE, TO TRANSFER
14                                                   VENUE
     v.
15
     HKB, INC., an Arizona corporation,
16 doing business as SOUTHWEST                       Assigned to Hon. Michael W. Fitzgerald
   INDUSTRIAL RIGGING; HARRY
17 KENT BAKER, an individual;
   SCOTT WILLIAM MILLER, an
18 individual; JAMES DOUGLAS
   WILSON, an individual,
19
20                                   Defendants.
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     CORE/3008422.0002/130508510.1
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 1           Defendants Harry Kent Baker, Scott William Miller, and James Douglas
 2 Wilson (collectively, “the Individual Defendant”) join the December 5, 2016
 3 Motion to Dismiss Or, In The Alternative, To Transfer Venue (“Motion”) filed by
 4 HKB, Inc., dba Southwest Industrial Rigging (“Southwest”). For the reasons set
 5 forth in the Motion, dismissal of the Complaint is proper; in the alternative,
 6 transfer to the District of Arizona is proper. In particular: the Individual
 7 Defendants work and reside in Arizona, not California; none of the Individual
 8 Defendants own property in California; none of the Individual Defendants have a
 9 California phone number, address, or other contact information; none of the
10 Individual Defendants have contact with or affiliation with any lawyers, litigants,
11 or witnesses in California; none of the Individual Defendants have ever been
12 party to a lawsuit in California; with regards to the Memorandum Agreement which
13 Plaintiffs attached to the Complaint in this action, the Individual Defendants: never
14 knew of the Memorandum Agreement, never consented to the Memorandum
15 Agreement, never ratified the Memorandum Agreement, never received any benefits
16 under the Memorandum Agreement, never had the expectation of receiving benefits
17 under the Memorandum Agreement, and did not sign and were not a party to the
18 Memorandum Agreement; with regards to the Union, the Individual Defendants never
19 received any benefits from the Union and never knew the Union purported to offer them
20 benefits, nor would they accept such benefits from the Union; with regards to the Trust,
21 the Individual Defendants: never received any benefits from the Trust, and never knew
22 the Trust purported to offer them benefits, nor would they accept such benefits from the
23 Trust; and, to the extent possible, Southwest avoids doing business in California in an
24 effort to avoid the additional costs of complying with California-specific regulations
25 which do not exist in Arizona.1 Furthermore, none of the Individual Defendants
26
     1
27   See Exhibit 1, December 7, 2016 James Douglas Wilson. Mr. Wilson submits his
   declaration both on his behalf, and additionally testifies on information and belief
28 regarding Messrs. Baker and Miller, who have been out of town and unreachable
   CORE/3008422.0002/130508510.1
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 1 have minimum contacts with the forum, International Shoe Co. v. Washington,
 2 326 U.S. 310 (1945), and none of the Individual Defendants have availed
 3 themselves of the benefits and protections of the forum. Burger King v.
 4 Rudzewicz, 471 U.S. 462 (1985). The Motion should be granted as to the
 5 Individual Defendants.
 6        RESPECTFULLY SUBMITTED 7th day of December, 2016.
 7                                         STINSON LEONARD STREET LLP
 8                                   By:   /s/ Javier Torres
                                           Javier Torres
 9                                         1850 North Central Avenue, Suite 2100
10
                                           Phoenix, Arizona 85004-4584
                                           Attorneys for HKB, Inc., dba Southwest
11
                                           Industrial Rigging, Harry Kent Baker,
                                           Scott William Miller, and James
12
                                           Douglas Wilson

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   for some time. Plaintiffs refused Defendants’ recent request for an extension to
28 respond to the Complaint.
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 1                                    PROOF OF SERVICE
 2            1.       I am over 18 years of age and not a party to this action. I am a
 3 resident of or employed in the county where the mailing took place.
 4            2.       My residence or business address is: 1850 North Central Avenue,
 5 Suite 2100, Phoenix, Arizona 85004.
 6            3.       On December 7, 2016 I mailed from Phoenix, Arizona the following
 7 documents: DEFENDANTS HARRY KENT BAKER, SCOTT WILLIAM
 8 MILLER, AND JAMES DOUGLAS WILSON’S JOINDER IN MOTION
 9 TO DISMISS or, IN THE ALTERNATIVE, TO TRANSFER VENUE;
10 EXHIBIT 1.
11            4.       I served the documents by enclosing them in an envelope and
12 placing the envelope for collection and mailing following our ordinary business
13 practices. I am readily familiar with this businesses practice for collection and
14 processing correspondence for mailing. On the same day that correspondence is
15 placed for collection and mailing, it is deposited in the ordinary course of
16 business with the United States Postal Service in a sealed envelope with postage
17 fully prepaid.
18            5.       The envelopes was addressed and mailed as follows:
19            Daniel Shanley
              DeCarlo & Shanley
20            533 South Freemont Avenue, Ninth Floor
              Los Angeles, California 90071-1706
21
22            I declare under penalty of perjury under the laws of the State of California
23 that the foregoing is true and correct.
24
25 Dated: December 7, 2016
26                                             /s/ Cynthia Fischer
27
28
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                                                 4
